     Case 16-34834 Doc 56-1 Filed 05/01/20 Entered 05/01/20 15:46:56                                         Desc
               Statement Accompanying Relief From Stay Page 1 of 1


                                   REQUIRED STATEMENT TO ACCOMPANY
                                    ALL MOTIONS FOR RELIEF FROM STAY

All Cases: Debtor(s)         Paul Zankovich                         Case No.       16 B 34834           Chapter 13
All Cases: Moving Creditor Dominions Patio Homes Condo Assn No 1                   Date Case Filed October 31, 2016
Nature of Relief Saught:       XX Lift Stay      Annul Stay     XX Other (describe)           Dismiss
Chapter 13: Date of Confirmation Hearing                         or Date Plan Confirmed April 7, 2017
Chapter 7:             No-Asset Report Filed on _________
                       No-Asset Report not Filed, Date of Creditors Meeting

1.      Collateral
        a.        XX Home          353 Dominion Drive, Wood Dale, Illinois
        b.         Car Year, Make and Model
        c.         Other (describe)

2.      Balance Owed as of Petition Date $0.00 Includes Fees and Costs.
        Total of all other Liens against Collateral $106,131.00 Per Debtor(s) Schedule D.

3.      In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
        amounts and dates of all payments received from the debtor(s) post-petition.

4.      Estimated Value of Collateral (must be supplied in all cases) $277,203.00 Per Debtor(s) Schedule A
5.      Default
        a.        XX Pre-Petition Default
                  Number of months             0+       Amount $          0.00

        b.        XX Post-Petition Default
                  i.         XX On direct payments to the moving creditor
                             Number of months         5+       Amount $            2,769.00
                  ii.         On payments to the Standing Chapter 13 Trustee
                             Number of months                  Amount $
6.      Other Allegations
        a.           Lack of Adequate Protection § 362(d)(1)
                  i.         No insurance
                  ii.        Taxes unpaid            Amount $ _________________
                  iii.       Rapidly depreciating asset
                  iv.      XX Other (describe)Failure to pay association assessments, fees, and costs

        b.        No Equity and not Necessary for an Effective Reorganization § 362(d)(2)
        c.           Other “Cause” § 362(d)(1)
                  i.         Bad Faith
                  ii.        Multiple filings _________________________________________________________
                  iii.       Other (describe)

        d.        Debtor’s Statement of Intention regarding the collateral
                  i. Reaffirm     ii. Redeem         iii. Surrender        iv.      No Statement of Intention Filed

Date: May 1, 2020                              /s/ Ronald J. Kapustka
                                               Counsel for Movant
(Rev. 12/21/09)

NOTE: Pursuant to the Fair Debt Collection Practices Act you are advised that this law firm is deemed to be a debt
      collector attempting to collect a debt and any information obtained will be used for that purpose.
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